              Case 3:21-cv-05391-DGE Document 42 Filed 10/25/21 Page 1 of 2




 1                                                         HONORABLE DAVID G. ESTUDILLO

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     Kylee Andersen, et al.;
 9                                                         No. 3:21-CV-5391-DGE
                    Plaintiffs,
10          vs.                                            NOTICE OF WITHDRAWAL OF
                                                           COUNSEL
11 Lewis McChord Communities LLC, a Delaware
   limited liability company; Lincoln Military
12 Housing Lewis McChord PM LLC, a Delaware
   limited liability company;
13
                   Defendants.
14

15          PLEASE TAKE NOTICE that Gomez Trial Attorneys, to include all its counsel of record

16 (John H. Gomez, Ed Diab, Jessica Tora Sizemore, Kayla Nicole Lynk, and Paul Starita) hereby
     withdraw from this matter as counsel for all plaintiffs. Sonny Nguyen and Cynthia Park, of Park
17
     Chenaur & Associates, Inc. P.S., and Matthew T. Poelstra of Green, Bryant, & French LLP, remain
18
     counsel of record for Plaintiffs. Please direct all further pleadings, papers, future notices, and
19
     orders filed or served in the action on Mr. Nguyen, Ms. Park, or Mr. Poelstra at the following
20 addresses:

21                                  Son T. Nguyen, WSBA #53084
                                  Cynthia Sue-Jin Park, WSBA #58012
22                                Park Chenaur & Associates, Inc. P.S.
                                     2505 S. 320th Street, Suite 100
23                                      Federal Way, WA 98003

      NOTICE OF WITHDRAWAL OF COUNSEL - 1                           GOMEZ TRIAL ATTORNEYS
                                                                     655 W Broadway Suite 1700
                                                                        San Diego, CA 92101
                                                                           (619) 237-3490
           Case 3:21-cv-05391-DGE Document 42 Filed 10/25/21 Page 2 of 2




 1                           Phones: (253) 200-4519 | (253) 200-4508
                    Email: sonny@parkchenaur.com cynthia@parkchenaur.com
 2
                                      Matthew T. Poelstra
 3                               Green, Bryant, & French LLP
                                 402 W. Broadway, Ste 1950
 4                                   San Diego, CA 92101
                                     Phone: 760-346-9310
 5                                    Fax: 760-346-9031
                               Email: mpoelstra@gbflawyers.com
 6
          Dated: October 25, 2021
 7

 8
                                           _/s/ Paul Starita_________________
 9                                         PAUL STARITA, CSBA #219573
                                           Gomez Trial Attorneys
10                                         Attorney for Plaintiffs

11

12

13

14

15

16

17

18

19

20

21

22

23

     NOTICE OF WITHDRAWAL OF COUNSEL - 2                   GOMEZ TRIAL ATTORNEYS
                                                            655 W Broadway Suite 1700
                                                               San Diego, CA 92101
                                                                  (619) 237-3490
